           Case 1:20-cr-00018-RMB Document 21 Filed 10/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
UNITED STATES OF AMERICA,
                           Government,
                                                                            20 CR. 18 (RMB)
        -against-
                                                                            ORDER
JONATAN CORREA,
                           Defendant.
-------------------------------------------------------------X

        The telephone status conference previously scheduled for Monday, October 26, 2020 at
10:30 AM is hereby rescheduled to Tuesday, November 10, 2020 at 9:30 AM.

        Participants, members of the public and the press can use the following dial-in
information:


        USA Toll-Free Number: (877) 336-1829
        Access Code: 6265989
        Security Code: 2018


Dated: October 20, 2020
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
